
KELLUM, Judge,
concurring specially.
I write specially to note that this action appears to be Courtney James Boyd’s tenth Rule 32, Ala. R.Crim. P., petition challenging his 1999 conviction for first-degree robbery and his resulting sentence of 20 years’ imprisonment. I believe that allowing Boyd to file multiple petitions for postconviction relief in which his claims are either precluded or without merit wastes scarce judicial resources. Therefore, I would encourage the circuit court to consider adopting sanctions like those proposed in Peoples v. State, 531 So.2d 323 (Ala.Crim.App.1988), and Procup v. Strickland, 792 F.2d 1069 (11th Cir.1986), to prevent future frivolous litigation on the part of Boyd and other similarly situated inmates. See Ex parte Thompson, 38 So.3d 119 (Ala.Crim.App.2009).
